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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                           Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                Case No. 18-11094 (SCC)
DE C.V., et al.                                  (Jointly Administered)

Debtors in a Foreign Proceeding.



GONZALO GIL-WHITE, PERSONALLY                    Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                     Plaintiff,

              -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS
(UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO
PRIMUS PTE., LTD.; ORO NEGRO
LAURUS PTE., LTD.; ORO NEGRO
FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON
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LEAND, JR.; ROGER ALAN BARTLETT;
ROGER ARNOLD HANCOCK; SEADRILL
LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                       Defendants.



             STIPULATED SERVICE AND RESPONSE SCHEDULE ORDER

       WHEREAS, the Plaintiffs, Fernando Perez Correa, in his capacity as Foreign

Representative of both Integradora de Servicios Petroleros Oro Negro, S.A.P.I. de C.V. and

Perforadora Oro Negro, S. de R.L. de. C.V. (together, the “Debtors”), and Gonzalo Gil-White, in

his personal capacity, filed the above-captioned lawsuit on June 6, 2019; and

       WHEREAS, on September 4, 2019, Defendant John Fredriksen agreed to accept service

of the Complaint [ECF 9], subject to his reservation of all defenses or objections to the lawsuit,

the court’s jurisdiction, and the venue of the action; and

       WHEREAS, on September 6, 2019, Fredriksen and the Plaintiffs agreed to a schedule

for the filing of motions or responsive pleadings in this matter.

       Based on the foregoing, it is hereby STIPULATED, AGREED AND ORDERED AS

FOLLOWS:

       1.      Fredriksen has been served with the Complaint and Summons as of September 4,

2019. Fredriksen retains all defenses or objections to the lawsuit, the court’s jurisdiction, and the

venue of the action, and waives only any objections to service.

       2.      Fredriksen shall respond to the Complaint by October 11, 2019.

       3.      The Plaintiffs shall file their response to any motion to dismiss the Complaint by

November 11, 2019.




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      4.     Fredriksen shall file any reply in support of any motions to dismiss the Complaint

by December 4, 2019.

Dated: September 27, 2019                    QUINN EMANUEL URQUHART &
       New York, New York                    SULLIVAN, LLP

                                               /s/ Gabriel F. Soledad             .
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                                             Counsel for the Foreign Representative




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Dated: September 27, 2019                   SKADDEN ARPS SLATE MEAGHER & FLOM LLP
       New York, New York
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                                            Attorneys for John Fredriksen




ENTERED this 26th day of September, 2019.
                                      SO ORDERED

                                      /S/ Shelley C. Chapman
                                      THE HONORABLE SHELLEY C. CHAPMAN
                                      UNITED STATES BANKRUPTCY COURT




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